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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF FLORIDA
                     WEST PALM BEACH DIVISION


      GINA B. DERISO                          Civil Action No. 22cv80807

                       Plaintiff,

      – against–

      HYUNDAI CAPITAL AMERICA,
      INC., d/b/a KIA MOTORS
      FINANCE



                                    COMPLAINT

          NOW INTO COURT, through undersigned counsel, GINA B.

  DERISO, the Plaintiff herein and hereby files this Complaint against

  Defendant, HYUNDAI CAPITAL AMERICA, INC., d/b/a KIA

  MOTORS FINANCE, and alleges as follows:

                         PRELIMINARY STATEMENT

     1.     This is an action for actual and statutory damages for

  violations of the Fair Credit Reporting Act (hereinafter, “FCRA”), 15

  U.S.C. §1681, et. seq.




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                         JURISDICTION & VENUE

     2.    Jurisdiction arises under the Fair Credit Reporting Act

  15 U.S.C. §1681, et. seq., and pursuant to 28 U.S.C. §1331 and 28

  U.S.C. §1337.

     3.    Venue is proper in this district pursuant to 28 U.S.C.

  §1391(b).

                                  PARTIES

     4.    GINA B. DERISO (hereinafter, “Ms. Deriso”) is an

  individual who was at all relevant times residing in the County of

  Palm Beach, State of Florida.

     5.    At all relevant times, Plaintiff was a “consumer” as that

  term is defined by 15 U.S.C. §1681a(c)

     6.    HYUNDAI CAPITAL AMERICA, INC., d/b/a KIA MOTORS

  FINANCE (hereinafter, “Defendant” and/or “KIA FINANCE”) is a

  business entity that provides automobile financing to consumers.

  Defendant’s principal place of business is located in the State of

  California Defendant is incorporated in the State of California.

     7.    At all relevant times, Defendant was a “person” as that

  term is defined by 15 U.S.C. §1681a(b).



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     8.    At all relevant times, credit reports as alleged in this

  pleading are “consumer reports” as that term is defined by 15

  U.S.C. §1681a(d).

                        STATUTORY FRAMEWORK

  The Fair Credit Reporting Act

     9.    The Fair Credit Reporting Act, 15 U.S.C. §1681 et. seq., was

  originally enacted in 1970 for the purpose of regulating the

  collection, dissemination, and use of consumer credit information.

     10. Congress found that “[i]nnacurate credit reports directly

  impair the efficiency of the banking system, and unfair credit

  reporting methods undermine the public confidence which is

  essential to the continued functioning of the banking system.” 15

  U.S.C. §1681(a)(1).

     11. “The aim of the Fair Credit Reporting Act is to see that the

  credit reporting system serves the consumer as well as the industry.

  The consumer has a right to information which is accurate; he has

  a right to correct inaccurate or misleading information; he has a

  right to know when inaccurate information is entered into his file;

  he has a right to see that the information is kept confidential and is

  used for the purpose for which it is collected; and he has a right to

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  be free from unwarranted invasions of his personal privacy.” The

  Fair Credit Reporting Act seeks to secure these rights.” Hearings on

  S. 823 Before the Subcomm. on Financial Institutions of the S.

  Comm. on Banking and Currency, 91st Cong. 2 (1969).

     12. A “furnisher of information” provides information about

  consumers’ credit history to credit reporting agencies. 15 U.S.C.

  §1681s-2.

     13. “Furnishers of information” under the FCRA, pursuant to

  15 U.S.C. §1681s-2(b) to conduct a reasonable investigation into

  each of the written disputes that it receives from the credit

  reporting agencies. See also Hinkle v. Midland Credit Mgmt., Inc.,

  827 F.3d 1295, 1302 (11th Cir. 2016).

     14. Congress also found that “[c]onsumer reporting agencies

  have assumed a vital role in assembling and evaluating consumer

  credit and other information on consumers” and that “[t]here is a

  need to insure that consumer reporting agencies exercise their

  grave responsibilities with fairness, impartiality, and a respect for

  the consumer's right to privacy.” 15 U.S.C. § 1681(a)(3),(4).

     15. The FCRA requires credit reporting agencies to “follow

  reasonable procedures to assure maximum possible accuracy of”
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  consumer reports. 15 U.S.C. § 1681e(b). If a consumer disputes

  information contained in their credit report, the FCRA requires a

  credit reporting agency to “conduct a reasonable reinvestigation to

  determine whether the disputed information is inaccurate and

  record the current status of the disputed information, or delete the

  item from the file in accordance with paragraph (5), before the end

  of the 30-day period beginning on the date on which the agency

  receives the notice of the dispute from the consumer or reseller.”15

  U.S.C.S. § 1681i(a)(1)(A).

     16. In performing the reinvestigation, the FCRA requires a

  credit reporting agency to “review and consider all relevant

  information submitted by the consumer in the period described in

  paragraph (1)(A) with respect to such disputed information.”15

  U.S.C.S. § 1681i(a)(4).

     17. If the disputed information is inaccurate or incomplete or

  cannot be verified, the consumer reporting agency “shall…(i)

  promptly delete that item of information from the file of the

  consumer, or modify that item of information, as appropriate, based

  on the results of the reinvestigation; and (ii) promptly notify the

  furnisher of that information that the information has been
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  modified or deleted from the file of the consumer.” 15 U.S.C. §

  1681(a)(5)(A)(i),(ii).

     18. The FCRA provides a private right of action against any

  person that violates the provisions of the FCRA. 15 U.S.C. §§ 1681o,

  1691n.

     19. If the violation is negligent, the FCRA allows the consumer

  to recover actual damages (§ 1681o(a)); however, if the violation is

  willful, the consumer may recover any actual damages or statutory

  damages from not less than $100.00 and not more than $1,000. §

  1681n(a).

     20. Under the FCRA, the term “consumer report” generally

        refers to:

        any written, oral, or other communication of any information
        by a consumer reporting agency bearing on a consumer’s
        credit worthiness, credit standing, credit capacity, character,
        general reputation, personal characteristics, or mode of living
        which is used or expected to be used or collected in whole or
        in part for the purpose of serving as a factor in establishing
        the consumer’s eligibility for:


           i. credit or insurance to be used primarily for personal,
              family, or household purposes;

           ii. employment purposes; or



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           iii. any other purpose authorized under section 1681b of
           this title.


  15 U.S.C. § 1681a(d)(1).

     21. The terms “consumer report”, “credit report”, and

  “consumer credit report” are used synonymously herein.

                               ALLEGATIONS

  Credit Risk Scores aka ‘Credit Scores’

     22. The Fair Isaac Corporation credit risk scoring system,

  commonly referred to as “FICO”, is the leading credit scoring system

  and utilizes data reported by credit reporting agencies. See

  https://www.myfico.com/credit-education/credit-scores (last

  visited June 2, 2022).

     23. The Fair Isaac Corporation uses the data in consumer

  reports to calculate consumers’ credit scores (also known as credit

  risk scores). Id.

     24. The term “credit score” is a numerical value or a

  categorization derived from a statistical tool or modeling system

  used by a person who makes or arranges a loan to predict the

  likelihood of certain credit behaviors, including default. Consumer

  Financial Protection Bureau, Supervision and Examination Manual,

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  Version 2 (October 2012), p. 99, archived at

  https://perma.cc/JF32-RFAA

  http://files.consumerfinance.gov/f/201210_cfpb_supervision-and-

  examination- manual-v2.pdf (last accessed on June 2, 2022).

     25. The cost of credit (e.g., interest rates, fees, etc.), the

  availability of credit, ratings for insurance products, and even

  unsolicited credit offers, such as the opportunity to refinance a

  mortgage at a lower interest rate, extended financing periods and

  lower rate auto loans, and even zero-percent financing credit offers

  for in-store credit lines, are all, by and large, driven by a

  consumer’s credit score.

     26. FICO scores are calculated from five main categories of

  credit data in a consumer’s credit report. Those categories, and

  their weighted values, are as follows: payment history accounts for

  35% of a consumer’s FICO score; debt/amounts owed accounts for

  30% of a consumer’s FICO score; age/length of credit history

  accounts for 15% of a consumer’s FICO score; new credit/recent

  inquiries accounts for 10% of a consumer’s FICO score; and mix of

  accounts/types of credit accounts for 10% of a consumer’s FICO

  score. See https://www.myfico.com/credit-education/whats-in-
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  your-credit-score (last accessed June 2, 2022).

     27. The cost of credit (e.g., interest rates, fees, etc.), the

  availability of credit, ratings for insurance products, and even

  unsolicited credit offers, such as the opportunity to refinance a

  mortgage at a lower interest rate, extended financing periods and

  lower rate auto loans, and even zero-percent financing credit offers

  for in-store credit lines, are all, by and large, driven by a

  consumer’s credit score.

     28. Inaccurate or incorrect credit reporting very often results in

  a lower FICO and other credit scoring model scores, and thus

  higher costs of credit, diminished opportunity, and less purchasing

  power for consumers.

     29. There is no established rule or threshold for classifying the

  significance of a credit score change as minor or major because the

  impact of a change in score is dependent on the current score. For

  example, a twenty-five-point change in a credit score that keeps the

  consumer in a particular credit risk category may not have a large

  impact on the person’s likelihood of receiving credit. However, a

  one-point change in credit score that moves the consumer from one

  risk tier to the next may have a large impact on the consumer’s
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   access to credit or the products and rates the consumer is able to

   secure.

     30. The Fair Isaac Corporation states that inaccurate or

   incorrect information on a consumer’s credit report can hurt their

   score. See https://www.myfico.com/credit-

   education/questions/fix-errors-on-credit-report archived at

   https://perma.cc/9TQN-S5WP (last visited June 2, 2022).

   The CDIA Metro 2 Credit Reporting Standards

     31. The reporting of consumer credit information, by CRAs and

   data furnishers, is the foundation of credit risk scoring and impacts

   the financial lives of consumers by giving them access to loans and

   bank products that they need. See https://www.cdiaonline.org/for-

   consumers/credit-reporting-overview/

   (last visited June 2, 2022).

     32. Moreover, the significance of credit reporting and the value

   attached to one’s “credit in this day and age is one of his most

   valuable assets and without it, a substantial portion of the

   American people would be without their homes, washing machines,

   refrigerators, automobiles, television sets, and other mechanical

   paraphernalia that are now regarded as necessities of life." Am. Fire

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   & Cas. Co. v. Davis, 146 So. 2d 615, 619 (Fla. 1st DCA 1962).”

     33. The Consumer Data Industry Association (“CDIA”) is an

   international trade association, representing over 140 members

   involved in credit reporting, mortgage reporting, check verification,

   tenant and employment screening, collection services, and fraud

   verification services, and the CDIA is active in both federal and

   state legislative affairs, public relations, education, and the

   promulgation of industry standards.

     34. Because consumer credit reporting information is such

   sensitive data that has far reaching implications for most, if not all,

   consumers, the CDIA works together with CRAs to develop,

   maintain and enhance industry-standard reporting formats and

   guidelines.

     35. On May 20, 2015, Ohio Attorney General Mike DeWine and

   thirty (30) other state attorneys general announced a national

   settlement (“The Settlement”) with the CRAs. Attorney General

   DeWine Announces Major National Settlement with Credit

   Reporting Agencies, Ohio Att’y Gen. (May 20, 2015),

   https://www.ohioattorneygeneral.gov/Media/News-Releases/May-

   2015/Attorney-General-DeWine-Announces-Major-National-S , last
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   visited June 2, 2022.

     36. The Settlement implemented numerous reporting

   standards, including the Metro 2, data reporting format. See

   Assurance of Voluntary Compliance/Assurance of Voluntary

   Discontinuance, In the Matter of Equifax Info. Servs. L.L.C., Experian

   Info. Sols., Inc., and TransUnion L.L.C., § IV (E)(2)(May 20, 2015).

     37. To further assist CRAs and data furnishers with performing

   their due diligence and reporting accurate, complete, and timely

   data, in satisfaction of the FCRA’s legal requirements, the CDIA

   offers extensive training, education, and support to CRAs and data

   furnishers.

     38. The CDIA’s extensive training and support offerings include

   FCRA certification programs for both CRAs and data furnishers, to

   assist each in maintaining compliance with FCRA regulations.

     39. If the standardized methods proscribed by the CDIA are not

   followed, FCRA certification can be revoked for failure to adhere to

   such standards.

     40. In cooperation with the major CRAs, CDIA publishes the

   Metro 2 (“Metro 2”) reporting standards to assist furnishers with

   their compliance requirements under the FCRA. CDIA’s reporting
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   products are used in more than nine billion transactions each year.

   See, https://www.cdiaonline.org/resources/furnishers-of-data-

   overview/metro2-information/ (last accessed June 2, 2022).

     41. The Metro 2 Format Task Force is comprised of

   representatives from Equifax, Experian, Innovis, and TransUnion,

   and is supported by the CDIA. Metro 2 Format Task Force’s mission

   is to provide a standardized method for the reporting of accurate,

   complete, and timely data, and has developed the Metro 2

   standards. See https://www.cdiaonline.org/metro-2/ (last visited

   June 2, 2022).

     42. To ensure compliance with the FCRA, and in furtherance of

   its mission, the Metro 2 Format Task Force has developed an

   industry standard (the “Metro2 standard”) for reporting consumer

   accounts that is “designed to standardize a wide range of credit

   information while complying with federal laws and regulations for

   credit reporting.” Id.

     43. 15 U.S.C. § 1681s-2(a)(2) requires furnishers of information

   to regularly correct and update the information they previously

   provided to consumer reporting agencies, to make sure the

   information is complete and accurate. Similarly, upon receiving
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   notice from a consumer reporting agency of a consumer’s dispute,

   15 U.S.C. § 1681s-2(b)(1) requires furnishers of information to

   conduct reasonable investigations of a consumer’s dispute of the

   completeness or accuracy of any information provided by the

   furnisher of information to a consumer reporting agency.

     44. 15 U.S.C. § 1681e(b) requires consumer reporting agencies

   to follow reasonable procedures to assure maximum possible

   accuracy of information concerning the individual about whom a

   report relates. Similarly, 15 U.S.C. § 1681i(a)(1) requires consumer

   reporting agencies to conduct reasonable reinvestigations of a

   consumer’s dispute of the completeness or accuracy of any item of

   information contained in the consumer’s file.

     45. The uniform adoption and implementation of the Metro 2

   standards is the primary vehicle by which CRAs and furnishers

   ensure compliance with their respective duties to maintain complete

   and accurate information under the FCRA.

     46. The Metro 2 standards provide uniformity in the reporting

   and interpretation of credit data, including credit risk scoring.

     47. The Metro 2 standards are documented in the Credit

   Reporting Resource Guide (“CRRG”), an industry-standard
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   publication produced and distributed by the CDIA.

     48. As an integral aspect of its duties under the FCRA, KIA

   FINANCE is required to have in place adequate and reasonable

   policies and procedures for handling and investigation of disputed

   information.

     49. At all times relevant hereto, KIA FINANCE adopted and

   implemented the Metro 2 format as a means of fulfilling its duties

   under the FCRA.

     50. Furthermore, at all times relevant hereto, KIA FINANCE,

   warranted, and or represented to all CRAs to which it reported that

   it had adopted and implemented the Metro 2 format for its reporting

   of consumer data, and would otherwise comply with Metro 2 and

   CDIA guidelines in their reporting of consumer information.

   National CRAs and Furnishers Communicate Consumer
   Disputes and Responses via the E- Oscar Reporting Platform

     51. The FCRA requires CRAs to implement an automated

   reinvestigation system through which furnishers of information to

   the CRA may report the results of a reinvestigation that finds

   incomplete or inaccurate information in a consumer’s file. 15 U.S.C.

   § 1681i(a)(5)(D).


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     52. To comply with the automated dispute reinvestigation

   requirements of the FCRA, Trans Union, Equifax, and Experian (the

   three major “National CRAs”), along with Innovis Data Solutions,

   Inc., developed and implemented a browser- based software system

   that allows the CRAs to electronically notify furnishers quickly and

   easily of disputed credit reporting information, and for furnishers to

   quickly and easily respond to such disputes following the

   furnisher’s investigation of the disputed information.

     53. The system is commonly referred to as e-OSCAR (Online

   Solution for Complete and Accurate Reporting) and was designed to

   be Metro 2 compliant. See http://www.e-oscar.org/

   (last accessed June 2, 2022).

     54. The e-OSCAR system primarily supports Automated Credit

   Dispute Verification (“ACDV”) and Automated Universal Data Form

   (“AUD”) processing, as well as other consumer- dispute-related

   processes. Id.

     55. The National CRAs, provide notice of a consumer’s dispute

   to data furnishers in the ACDV format, and forward the ACDV to

   the furnisher through e- OSCAR.



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     56. If a furnisher’s investigation of a consumer’s dispute

   determines that the information in dispute is incomplete or

   inaccurate, the FCRA requires the furnisher to correct the

   information not only with the CRA that sent the ACDV, but with all

   other CRAs to whom the furnisher reported that information. 15

   U.S.C. § 1681s-2(b)(1)(D).

     57. The e-OSCAR system facilitates the furnisher’s compliance

   with 15 U.S.C. § 1681s-2(b)(1)(D) by sending a “Carbon Copy” of an

   ACDV response “to each CRA with whom the [furnisher] has a

   reporting relationship” in addition to the response to the initiating

   CRA. See https://www.e-oscar.org/getting-started/about-us (last

   accessed June 2, 2022).

     58. Additionally, a furnisher can manually correct a tradeline

   with a CRA other than the one that initiated a dispute by sending

   an AUD within e-OSCAR.

     59. Trans Union, Experian, and Equifax each require data

   furnishers that report to them respectively to register with and use

   e-OSCAR, and states that e-OSCAR is “in compliance with FCRA

   and Metro 2 standards.” See, https://www.transunion.com/data-

   reporting/support-teams (last accessed June 2, 2022).
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   GINA B. DERISO LEASES A
   DEFECTIVE and DANGEROUS KIA SORENTO

     60.      On August 26, 2015, Ms. DeRiso leased a 2016 Kia

   Sorento from Hyundai Motor Company, Hyundai Motor America,

   KIA Motors Corporation, and/or KIA Motors America, Inc. the

   leased was financed by Defendant, KIA FINANCE.

     61. On or around June 30, 2017, Ms. DeRiso was driving

   northbound on 1-95 going approximately 75 miles per hour when

   this horrific shrieking metal sound came from her car.

     62. The car suddenly had no power and Ms. DeRiso was

   forced to try to maneuver her way through high-speed cars off I-95

   to safety on the side of the road.

     63. The car had lost power steering and it was a terrifying event

   for Ms. DeRiso. It was miracle Ms. DeRiso was not hit.

     64. Ms. DeRiso waited on the side of the road for a tow truck

   to take her to the dealership.

     65. When Ms. DeRiso advised the tow truck driver as to what

   happened, in response he said this was his 4th or 5th Kia he towed

   in this week with the same problem.



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      66. Coincidentally, Ms. Desiro received a Notice of Proposed

   Class Settlement due to the fact that Hyundai Motor Company,

   Hyundai Motor America, KIA Motors Corporation, and KIA Motors

   America, Inc. were selling dangerous vehicles where there was a

   defect that caused engine seizure, stalling, engine failure and

   engine fire, which if experienced “can be dangerous.” A copy of the

   Notice of Proposed Class Settlement is attached hereto as Exhibit

   “A.”

      67. Hyundai Motor Company, Hyundai Motor America, KIA

   Motors Corporation, and/or KIA Motors America, Inc. leased a

   dangerous vehicle to Ms. Deriso through its finance company,

   Defendant, KIA.

      68. Hyundai Motor Company, Hyundai Motor America, KIA

   Motors Corporation, and/or KIA Motors America, Inc., should

   not be selling vehicles to individuals such as the Plaintiff, Ms.

   DeRiso in which the engine: seizes, stalls, fails, and/or catches on

   fire.




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     69. Mr. DeRiso excluded herself from this Class action by

   letter dated December 17, 2020. A redacted copy of Ms. Deriso’s

   letter excluding her from the Class Action is attached hereto as

   Exhibit “B.”

     70. It is important to note, approximately a month prior to

   this event Ms. DeRiso had taken her car in for an oil change.

     71. The technician said, the oil they drained out didn’t look

   right and Ms. DeRiso should take her car in for service to be

   inspected.

     72. It was time for the annual service (Ms. DeRiso had the

   car only ONE YEAR).

     73. Ms. DeRiso took the Kia Sorento to the Napleton KIA

   dealership on 3626 Northlake Blvd, Palm Beach Gardens, FL 33403

   [hereinafter “KIA Dealership”], who performed the annual

   inspection.

     74. Ms DeRiso conveyed the concerns the technician who

   changed the oil mentioned, in response the mechanic at the KIA

   Dealership said the car had nothing wrong with it and looked great,

   and sent Ms. DeRiso on her way.



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      75. Shortly thereafter (approximately 30 days) the car seized

   on I-95 as mentioned above.

      76. This was a terrifying event, and Ms. DeRiso is still

   haunted today by the shrieking sound that her Sorento made.

      77. The event has traumatized Ms. DeRiso and she will never

   own a KIA automobile again.

      78. Ms. DeRiso is so stressed out that any car she is driving

   will have an oil and engine problem that she is constantly checking

   the oil.

      79. It is important to mention that because of this

   traumatizing event, Ms. DeRiso spends more money getting the oil

   changed sooner than required due to the amount of anxiety the

   event caused her.

      80. Ms. DeRiso is always stressed that the engine will fail

   and that she will be at risk of being harmed and possibly killed on

   the busy I-95 highway.

      81. Any time Ms. DeRiso’s car makes a sound, a wave of

   anxiety moves over her and she is completely freaked out that this

   is going to happen to her again!



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     82. When the KIA Dealership contacted Ms. DeRiso the

   manager asked for her oil change receipts. She provided them, and

   the representative from the KIA Dealership said it wouldn’t be a

   problem and the car would be repaired.

     83. Ms DeRiso later called the KIA Dealership to find out when

   her car would be returned to her.

     84. Ms. DeRiso was told the manager had been fired and she

   was put with another representative to be handled.

     85. Over time the new person at the KIA Dealership, Ms. DeRiso

   was communicating with was also let go. It happened again after

   that!

     86. The KIA Dealership cleaned house and no one who was

   left employed at the KIA Dealership that was aware of Ms. DeRiso’s

   situation.

     87. Kia told Ms. DeRiso that they would not make the repairs

   and said Ms. DeRiso was responsible for them.

     88. The car was one year old, 2016.

     89. The engine failure happened June 30, 2017.

     90. The car also has a 10 year or 100k mile warranty.



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     91. Not only was Ms. DeRiso’s life put at risk, none of the

   warranties were honored by Hyundai Motor Company, Hyundai

   Motor America, KIA Motors Corporation, and/or KIA Motors

   America, Inc.

     92. Next, the billing department with KIA FINANCE contacted

   Ms. DeRiso and advised her that she needed to make a payment for

   her lease.

     93. Ms. DeRiso advised she would be happy to pay it when

   she had a car to drive around again.

   KIA FINANCE’S COLLECTION LETTER

     94. On or about January 5, 2018, KIA FINANCE sent a debt

   collection letter stating that Ms. Deriso owed KIA FINANCE

   $10,108.36. Around January 5, 2018, KIA FINANCE contacted Ms.

   Deriso by phone and advised her that she owed $10,108.36. In

   response advised KIA FINANCE that she wasn’t paying because

   their car was faulty, and because the vehicle was under warranty

   and they were responsible to fix it. A copy of the KIA FINANCE

   letter is attached hereto as Exhibit “C.”

     95. They did not fix it and they stopped calling.



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     96. Subsequent to June 30, 2017 when Ms. DeRiso went to get

   the tag off her car at the lot for her new vehicle she discovered that

   her tag had been taken with the car.

     97. KIA FINANCE stole Ms. DeRiso’s tag, leaving her with

   another bill to pay for a new tag.

     98. Not only has Ms. DeRiso been emotionally impacted by

   the events that took place on or around June 30, 2017, but to make

   matters worse – Ms. DeRiso discovered that in January of 2020, KIA

   FINANCE was furnishing derogatory inaccurate information to the

   credit reporting agencies regarding the subject debt.

     99. In response, to the Defendant’s January 5, 2018 debt

   collection letter on December 17, 2020, the Plaintiff sent a

   dispute to the Defendant advising the Defendant of the events that

   took place and also informing the Defendant that they are seeking

   to collect a debt that is not legitimate” and that Defendant was

   reporting to inaccurate information to Plaintiff’s credit reports. A

   copy of this redacted letter is attached hereto as Exhibit “D.”

     100. The Defendant did not respond Ms. DeRiso’s December 17,

   2020 dispute letter.



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     101. As noted above, though the debt of Defendant is not

   legitimate, Ms. DeRiso discovered that the Defendant has been

   providing derogatory and inaccurate statements and information

   relating to Ms. DeRiso’s credit history to various credit reporting

   agencies, as that term is defined by 15 U.S.C. 1681a(f). More

   specifically, the Defendant has been reporting the subject debt as

   charged-off to Experian, Equifax and TransUnion. A copy of the

   Defendant’s reporting is attached hereto as Exhibit “E.”

     102. Defendant is aware that the credit reporting agencies to

   which they are providing this information are going to disseminate

   this information to various other persons or parties who will be

   reviewing this information for the purpose of extending credit,

   insurance or employment.

     103. The inaccurate information of which Ms. DeRiso complains

   is an account, or trade-line, that reflects Ms. DeRiso has a defaulted

   on a debt with Defendant. Specifically, Ms. DeRiso asserts that she

   is not liable to the Defendant as her car malfunctioned and could

   not be repaired.




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     104. Despite the foregoing, Defendant has been reporting the

   account as a charge off while the result being that Defendant was

   communicating to potential creditors that Ms. DeRiso does not have

   the propensity to pay her bills. (hereinafter “the inaccurate

   information”)

     105. The inaccurate information negatively reflects upon Ms.

   DeRiso, Ms. DeRiso’s credit repayment history, Ms. DeRiso credit

   worthiness.

     106. Credit reports containing the inaccurate information have

   been and continue to be disseminated to various persons and credit

   grantors, both known and unknown.

     107. The Defendant failed to respond to Ms. DeRiso’s December

   17, 2020 letter and the Defendant failed to correct the inaccurate

   reporting and therefore on April 1, 2022, Ms. DeRiso, disputed the

   inaccurate information with the three (3) major credit reporting

   agencies, Equifax Information Services, Inc (hereinafter, “Equifax”),

   Experian Information Solutions, Inc, (hereinafter, “Experian”) and

   Trans Union, LLC (hereinafter, “Trans Union) by written

   communication to their respective representatives and by following

   the aforementioned reporting agencies’ established procedures for
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   disputing consumer credit information. A redacted copy of this

   letter is attached hereto as Composite Exhibit “D.”

     108. Upon information and belief, within five (5)

   days of Ms. DeRiso disputing the inaccurate information with

   Equifax, Equifax notified Defendant that Ms. DeRiso disputed the

   inaccurate information and the nature of Ms. DeRiso’s dispute.

     109. Defendant received notification from Equifax that Ms.

   DeRiso disputed the inaccurate information and the nature of Ms.

   DeRiso’s dispute.

     110. Upon information and belief, Defendant received from

   Equifax, notice of Ms. DeRiso’s dispute by an Automated Consumer

   Dispute Verification Notice.

     111. Upon information and belief, Defendant received from

   Equifax additional information and documentation that Equifax had

   received from Ms. DeRiso relative to and in support of Ms. DeRiso

   dispute.

     112. Defendant then and there owed Ms. DeRiso a duty to assist

   the Equifax in a reinvestigation into the disputed information being

   reported about Ms. DeRiso by Defendant.



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     113. Though Equifax provided the Defendant with all information

   and documentation the Defendant failed to properly investigate the

   matter, instead the Defendant verified the debt to Equifax and Ms.

   DeRiso.

     114. Upon information and belief, within five (5) days of Ms.

   Gomez disputing the inaccurate information with Experian,

   Experian notified Defendant that Ms. DeRiso disputed the

   inaccurate information and the nature of Ms. DeRiso’s dispute.

     115. Defendant received notification from Experian that Ms.

   DeRiso the inaccurate information and the nature of Ms. DeRiso ’s

   dispute.

     116. Upon information and belief, Defendant received from

   Experian, notice of Ms. DeRiso’s dispute by an Automated

   Consumer Dispute Verification Notice.

     117. Upon information and belief, Defendant received from

   Experian additional information and documentation that Experian

   had received from Ms. DeRiso relative to and in support of Ms.

   DeRiso’s dispute.




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     118. Defendant then and there owed Ms. DeRiso a duty to assist

   Experian in a reinvestigation into the disputed information being

   reported about Ms. DeRiso by Defendant.

     119. Though Experian provided the Defendant with all

   information and documentation the Defendant failed to properly

   investigate the matter, instead the Defendant verified the debt to

   Experian and Ms. DeRiso.

     120. Upon information and belief, within five (5) days of Ms.

   DeRiso disputing the inaccurate information with Trans Union,

   Trans Union notified Defendant that Ms. DeRiso disputed the

   inaccurate information and the nature of Ms. DeRiso’s dispute.

     121. Defendant received notification from Trans Union that

   Ms. DeRiso disputed the inaccurate information and the nature of

   Ms. DeRiso’s dispute.

     122. Upon information and belief, Defendant received from Trans

   Union, notice of Ms. DeRiso’s dispute by an Automated Consumer

   Dispute Verification Notice.

     123. Upon information and belief, Defendant received from Trans

   Union additional information and documentation that Trans Union

   had received from Ms. DeRiso relative to and in support of Ms.
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   DeRiso’s dispute.

     124. Defendant then and there owed Ms. DeRiso a duty to assist

   Trans Union in a re-investigation into the disputed information

   being reported about Ms. DeRiso by Defendant.

     125. Though Trans Union provided the Defendant with all

   information and documentation the Defendant failed to properly

   investigate the matter, instead the Defendant verified the debt to

   Trans Union and Ms. DeRiso.

     126. Notwithstanding Ms. DeRiso’s efforts and Defendant’s

   duties, Defendant continued to publish and disseminate such

   inaccurate information to various credit reporting agencies.

     127. Despite Ms. DeRiso’s efforts to date, Defendant has

   nonetheless deliberately, willfully, intentionally, recklessly and

   negligently repeatedly failed to perform reasonable re-investigations

   of the above dispute as required by the FCRA, has failed to remove

   and/or correct the inaccurate information, has failed to note the

   disputed status of the inaccurate information, and has continued to

   report the derogatory inaccurate information about Ms. DeRiso.




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     128. Ms. DeRiso’s credit reports and file have been obtained from

   Defendant and have been reviewed many times by prospective and

   existing credit grantors and extenders of credit, and the inaccurate

   information has been a substantial factor in precluding Ms. DeRiso

   from receiving many different credit offers and opportunities, known

   and unknown, and from receiving the most favorable terms in

   financing and interest rates for credit offers that were ultimately

   made.

     129. As a result of Defendant’s conduct, Ms. DeRiso has suffered

   actual damages in the forms of lost credit opportunities, harm to

   credit reputation and credit score, and emotional distress.

     130. As a result of Defendant’s conduct, Ms. DeRiso’s credit

   Scores have decreased. Additionally, as a result of Ms. DeRiso’s

   dispute of Defendant’s tradelines and then Defendant subsequently

   verifying the tradelines, Ms. DeRiso’s credit score dropped 23

   points. See Exhibit “F.”

               Plaintiff’s Injuries-In-Fact under the FCRA

     131. Defendants’ actions and omissions have resulted in Ms.

   DeRiso having a decreased credit score, which resulted in her

   paying increased interest on any approved credit applications
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   following her two written disputes.

     132. This negative effect on Plaintiff’s credit score subjected her

   to either being denied credit or receiving less favorable credit terms

   than she otherwise would when she applied for credit after

   submitting her written disputes.

     133. Further, courts have regularly held that allegations of lower

   credit scores, taken as true, are sufficient to allege a concrete

   injury-in-fact for the purposes of standing under Article III. Pedro v.

   Equifax, Inc., 868 F.3d 1275 (11th Cir. 2017) (“[H]er credit score

   dropped 100 points as a result of the challenged conduct. Because

   Pedro alleged that she suffered an injury in fact, she has standing

   to pursue her complaint.”); Diedrich v. Ocwen Loan Servicing, LLC,

   839 F.3d 583 (7th Cir. 2016) (standing where Plaintiffs alleged that

   they “have suffered damage to their credit and been forced to pay

   Ocwen greater payments and a higher interest rate”); Santangelo v.

   Comcast Corp., 162 F. Supp. 3d 691 (N.D. Ill. 2016) (“a depleted

   credit score is sufficient to constitute an injury-in-fact for the

   purposes of establishing Article III standing”); Binns v. Ocwen Loan

   Servicing, LLC, No. 14- 01764, 2015 U.S. Dist. LEXIS 132743, 2015

   WL 5785693, at *9 (S.D. Ind. Sept. 30, 2015) (“injuries to plaintiffs’
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   credit scores and reputations were considered intangible harms”);

   Rothman v. U.S. Bank Nat’l Ass’n, No. 13-03381, 2014 U.S. Dist.

   LEXIS 141100, 2014 WL 4966907, at *5 (N.D. Cal. Oct. 3, 2014)

   (“Injury to a credit score is sufficient to constitute ‘actual

   damages’”); Green v. RentGrow, Inc., No. 2:16cv421, 2016 U.S. Dist.

   LEXIS 166229 (“A decrease in credit score may still establish an

   injury in fact sufficient to confer standing”); Adams v. Fifth Third

   Bank, No. 3:16-CV-00218-TBR, 2017 U.S. Dist. LEXIS 18932 (W.D.

   Ky. Feb. 9, 2017) (“Plaintiffs’ allegations of lower credit scores … are

   sufficient to allege a concrete injury-in-fact for the purposes of

   standing under Article III.”); and, Coulbertson v. Experian Info. Sols.,

   Inc., No. 16-cv-05672-RS, 2017 U.S. Dist. LEXIS 69484 (N.D. Cal.

   Mar. 24, 2017) (“At a minimum, Coulbertson has alleged a

   sufficient injury-in-fact through her claim that her credit score

   suffered as a result of the credit report she disputes”).

     134. At all times pertinent hereto, Defendant was acting by and

   through its agents, servants and/or employees who were acting

   within the course and scope of their agency or employment, and

   under the direct supervision and control of Defendant herein.



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     135. At all times pertinent hereto, the conduct of Defendant, as

   well as that of its agents, servants and/or employees, was

   malicious, intentional, willful, reckless, and in grossly negligent

   disregard for federal and state laws and the rights of Ms. DeRiso

   herein.

     136. Defendant violated sections 1681n and 1681o of the FCRA

   by engaging in the following conduct that violates 15 U.S.C.

   §1681s-2(b):

             a. Willfully and negligently failing to conduct an
                investigation of the inaccurate information that Ms.
                DeRiso disputed;

             b. Willfully and negligently failing to review all relevant
                information concerning Ms. DeRiso ’s account provided
                to this Defendant;

             c. Willfully and negligently failing to report the inaccurate
                status of the inaccurate information to all credit
                reporting agencies;

             d. Willfully and negligently failing to properly participate,
                investigate and comply with the reinvestigations that
                were conducted by any and all credit reporting agencies
                concerning the inaccurate information disputed by Ms.
                DeRiso;

             e. Willfully and negligently continuing to furnish and
                disseminate inaccurate and derogatory credit, account
                and other information concerning the Ms. DeRiso to
                credit reporting agencies and other entities despite
                knowing that said information was inaccurate; and,
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            f. Willfully and negligently failing to comply with the
               requirements imposed on furnishers of information
               pursuant to 15 U.S.C. §1681s-2(b).
      137. Defendant’s conduct was a direct and proximate cause,

   as well as a substantial factor, in causing the injuries, damages and

   harm to Ms. DeRiso that are outlined more fully above, and as a

   result, Defendant is liable to compensate Ms. DeRiso for the full

   amount of statutory, actual and punitive damages, along with

   attorneys’ fees and costs, as well as such other relief permitted by

   law.

 I.   JURY DEMAND

      138. Plaintiff, Ms. DeRiso hereby demands a trial by jury on all

   issues so triable.

II.   PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, GINA DERISO RINIKER, by and

   through her attorneys, respectfully prays for Judgment to be

   entered in their favor of Plaintiff and against Defendant as follows:

          a. All actual compensatory damages suffered;

          b. Statutory damages;

          c. Punitive damages;


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        d. Plaintiffs’ attorneys’ fees and costs; and,

        e. Any other relief deemed appropriate by this Honorable
           Court.

                                            Respectfully submitted,

                                            Robert C. Gindel Jr., P.A.

                                            By: s/ Robert C. Gindel, Jr.
                                                Attorney for Plaintiff


   Dated: June 2, 2022

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